 Case 3:16-cv-00716-MHL Document 94 Filed 12/05/17 Page 1 of 3 PageID# 519




                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division




Tony Andrews, et al.

                                      Plaintiffs,

V.                                                         CIVIL ACTION NO. 3:16-cv-716


The CFS Group, LLC

                                      Defendant.




                  JOINT STIPULATION OF VOLUNTARY DISMISSAL


       Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Tony

Andrews, et al. and Defendant The CPS Group, LLC, who together constitute all the parties in

this action, and all of whom have appeared, hereby stipulate that all matters in controversy in this

action between the parties have been fully compromised and resolved and the above-styled

action be dismissed with prejudice.




                                         so ORDERED

                                                    2^ b         /s/    1
                                             M. Hannah Lauck M'
                                             United States District Ju dge
Case 3:16-cv-00716-MHL Document 94 Filed 12/05/17 Page 2 of 3 PageID# 520
Case 3:16-cv-00716-MHL Document 94 Filed 12/05/17 Page 3 of 3 PageID# 521
